                                                                    Case 2:18-cv-02361-MMD-NJK Document 105 Filed 07/09/20 Page 1 of 2



                                                                1 Marquis Aurbach Coffing
                                                                  Nick D. Crosby, Esq.
                                                                2 Nevada Bar No. 8996
                                                                  Jared M. Moser, Esq.
                                                                3 Nevada Bar No. 13003
                                                                  10001 Park Run Drive
                                                                4 Las Vegas, Nevada 89145
                                                                  Telephone: (702) 382-0711
                                                                5 Facsimile: (702) 382-5816
                                                                  ncrosby@maclaw.com
                                                                6 jmoser@maclaw.com
                                                                    Attorneys for Defendants,
                                                                7   INTU Corporation and Deanna Edwards
                                                                8
                                                                                               UNITED STATES DISTRICT COURT
                                                                9
                                                                                                      DISTRICT OF NEVADA
                                                               10
                                                                  KRYSTAL JOHNSON, on behalf of herself Case Number: 2:18-cv-02361-MMD-NJK
                                                               11 and all others similarly situated, an
MARQUIS AURBACH COFFING




                                                                  individual: ELIZABETH SPANGLER, on
                                                               12 behalf of herself and all others similarly   STIPULATION AND ORDER TO
                          (702) 382-0711 FAX: (702) 382-5816




                                                                  situated, an individual,                   EXTEND DEFENDANTS’ DEADLINE
                                                               13                                              TO RESPOND TO PLAINTIFFS’
                                Las Vegas, Nevada 89145




                                                                                            Plaintiffs,        MOTION TO APPROVE CLASS
                                  10001 Park Run Drive




                                                               14                                                  NOTICE [ECF NO. 102]
                                                                          vs.
                                                               15
                                                                  INTU, a Nevada corporation; DEANNA
                                                               16 EDWARDS, an individual,                             (First Request)
                                                               17                               Defendants.
                                                               18

                                                               19         Plaintiffs Krystal Johnson and Elizabeth Spangler (together, “Plaintiffs”), by and through
                                                               20 their attorneys of record, The VerStandig Law Firm, LLC, and Defendants INTU Corporation and

                                                               21 Deanna Edwards (together, “Defendants,” and with Plaintiffs, the “Parties”), by and through their

                                                               22 attorneys of record, the law firm of Marquis Aurbach Coffing, hereby enter into this Stipulation

                                                               23 and Order to Extend Defendants’ Deadline to Respond to Motion to Approve Class Notice (First

                                                               24 Request).

                                                               25         WHEREAS, Defendants recently produced, on or about June 30, 2020, nearly 400 pages of
                                                               26 financial documents – including bank statements, mortgage forbearance correspondence, and tax

                                                               27 returns – for consideration by Plaintiffs and their counsel in order to demonstrate Defendants’
                                                                                                              Page 1 of 2
                                                                                                                                    MAC:16072-001 4088646_1 7/8/2020 5:29 PM
                                                                    Case 2:18-cv-02361-MMD-NJK Document 105 Filed 07/09/20 Page 2 of 2



                                                                1 insolvency and current lack of revenue in light of the COVID-19 pandemic and to facilitate

                                                                2 settlement discussions;

                                                                3          WHEREAS, Plaintiffs and their counsel are still reviewing the financial records produced
                                                                4 and evaluating their options as this litigation progresses;

                                                                5          WHEREAS, Defendants have accepted much of Plaintiffs’ proposed class notice [ECF No.
                                                                6 102-1] with minor revision and have expressed a willingness to provide all requested information

                                                                7 to which they currently have access to facilitate possible dissemination of the class notice if the

                                                                8 matter does not settle prior to dissemination; and,

                                                                9          WHEREAS, the Parties seek to preserve their own and this Court’s resources by potentially
                                                               10 avoiding further briefing on Plaintiffs’ pending Motion to Approve Class Notice [ECF No. 102]

                                                               11 (“Motion”), while reserving their respective rights to submit a Response and Reply.
MARQUIS AURBACH COFFING




                                                               12          IT IS HEREBY STIPULATED AND AGREED that Defendants’ deadline to file a
                          (702) 382-0711 FAX: (702) 382-5816




                                                               13 Response to the Motion shall be extended by thirty (30) days, from the current deadline of July 10,
                                Las Vegas, Nevada 89145
                                  10001 Park Run Drive




                                                               14 2020, to August 10, 2020.

                                                               15 Dated this 8th day of July, 2020.                 Dated this 8th day of July, 2020.
                                                               16       MARQUIS AURBACH COFFING                           THE VERSTANDIG LAW FIRM, LLC
                                                               17

                                                               18 By:          /s/ Jared M. Moser                   By:          /s/ Maurice VerStandig
                                                                        Nick D. Crosby, Esq.                              Maurice VerStandig, Esq.
                                                               19       Nevada Bar No. 8996                               Nevada Bar No. 15346
                                                                        Jared M. Moser, Esq.                              1452 W. Horizon Ridge Pkwy, #665
                                                               20       Nevada Bar No. 13003                              Henderson, NV 89012
                                                                        10001 Park Run Drive
                                                                        Las Vegas, Nevada 89145                           Attorney for Plaintiffs Krystal Johnson and
                                                               21                                                         Elizabeth Spangler
                                                                        Attorneys for Defendants, INTU
                                                               22       Corporation and Deanna Edwards

                                                               23
                                                                                                                 ORDER
                                                               24
                                                                           IT IS HEREBY ORDERED this ____
                                                                                                      9 day of ______________,
                                                                                                                 July          2020.
                                                               25

                                                               26

                                                               27                                                         UNITED STATES MAGISTRATE JUDGE

                                                                                                                Page 2 of 2
                                                                                                                                         MAC:16072-001 4088646_1 7/8/2020 5:29 PM
